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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
               v.                           :       Case No. 21-cr-6 (TJK)
                                            :
DOUGLAS AUSTIN JENSEN,                      :
                                            :
                      Defendant.            :


            GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
                       TO LOCAL CRIMINAL RULE 49

       The United States hereby gives notice, pursuant to Local Criminal Rule 49, of the following

exhibits that were provided to the Court and all counsel in relation to Government’s Memorandum

in Opposition to Defendant’s Motion to Revoke Detention Order (ECF No. 24).      The exhibits are

as follows:

       1.      Government Exhibit A, referenced in its Opposition (ECF No. 24) was provided to

the Court and opposing counsel via USAfx on June 23, 2021.      Government Exhibit A is a video

obtained from defendant’s cell phone that is approximately 10 seconds in length.      The events

depicted in Government Exhibit A occurred at approximately 2:06 p.m. on January 6, 2021.

       2.      Government Exhibit B, referenced in its Opposition (ECF No. 24), was provided to

the Court and opposing counsel via USAfx on June 23, 2021. Government Exhibit B is a video

obtained from defendant’s cell phone that is approximately 5 seconds in length.       The events

depicted in Government Exhibit B occurred at approximately 2:10 p.m. on January 6, 2021.

       3.      Government Exhibit C, referenced in its Opposition (ECF No. 24), was provided to

the Court and opposing counsel via USAfx on June 23, 2021.      Government Exhibit C is a video

obtained from defendant’s cell phone that is approximately 18 seconds in length.      The events

depicted in Government Exhibit C occurred at approximately 2:07 p.m. on January 6, 2021.


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                                      Respectfully submitted,

                                      CHANNING D. PHILLIPS
                                      Acting United States Attorney
                                      DC Bar No. 415793

                                      s/Hava Arin Levenson Mirell
                                      Hava Arin Levenson Mirell
                                      Assistant United States Attorney
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I HEREBY CERTIFY that I filed the foregoing
pleading electronically through the CM/ECF system
which caused the parties or counsel of record to be
served by electronic means, as reflected on the Notice
of Electronic Filing, and other methods of service as
indicated therein on July 1, 2021


s/Hava Arin Levenson Mirell
Hava Arin Levenson Mirell
Assistant United States Attorney




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